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          15     NORTHROP GRUMMAN SYSTEMS
                 CORPORATION
          16
                                     UNITED STATES DISTRICT COURT
          17
                                    CENTRAL DISTRICT OF CALIFORNIA
          18
                 JED and ALISA BEHAR,                   CASE NO. 2:21-cv-03946-FMO-SK
          19
                                 Plaintiffs,            DEFENDANTS NORTHROP
          20                                            GRUMMAN CORPORATION AND
                      v.                                NORTHROP GRUMMAN SYSTEMS
          21                                            CORPORATION’S NOTICE OF
                 NORTHROP GRUMMAN                       MOTION AND MOTION TO DISMISS
          22     CORPORATION and NORTHROP               FIRST AMENDED COMPLAINT
                 GRUMMAN SYSTEMS                        CLAIMS FOR: (1) STRICT LIABILITY
          23     CORPORATION,                           (ABNORMALLY DANGEROUS
                                                        ACTIVITY); (2) PUNITIVE DAMAGES;
          24                     Defendants.            AND (3) EQUITABLE RELIEF
          25                                            Hearing:
                                                        Date:    November 4, 2021
          26                                            Time:    10:00 a.m.
                                                        Place:   Courtroom 6D, 6th Floor
          27                                                     350 W. 1st Street
                                                                 Los Angeles, California 90012
          28                                            Judge:   Hon. Fernando M. Olguin

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            1                            NOTICE OF MOTION AND MOTION
            2    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
            3          PLEASE TAKE NOTICE THAT on November 4, 2021, at 10:00 a.m., or as soon
            4    thereafter as the matter may be heard, in Courtroom 6D of the above-entitled court,
            5    located at 350 W. 1st Street, 6th Floor, Los Angeles, California 90012, Defendants
            6    Northrop Grumman Corporation and Northrop Grumman Systems Corporation will and
            7    hereby do move the Court, pursuant to Rule 12(b)(6) of the Federal Rules of Civil
            8    Procedure, for an order dismissing Plaintiffs’ claim against Defendants for strict liability
            9    based on abnormally dangerous activity (the “strict liability claim”), demand for punitive
          10     damages, and request for equitable relief.
          11           Plaintiffs’ First Amended Complaint fails to state a claim upon which relief may
          12     be granted as to each of these issues as follows: (1) With respect to Plaintiffs’ strict
          13     liability claim, the Complaint does not allege facts that, if true, establish that Defendants
          14     or their predecessors engaged in activities that were ultrahazardous, that the risks of such
          15     activities could not be eliminated through the exercise of reasonable care, or that
          16     Plaintiffs’ alleged injuries fall within the scope of any alleged ultrahazardous risk;
          17     (2) Plaintiffs’ demand for punitive damages fails because Plaintiffs have not alleged
          18     conduct by any specific individual officer, director, or managing agent of Defendants
          19     that was malicious, oppressive, or fraudulent; and (3) Plaintiffs’ request for equitable
          20     relief should be dismissed because Plaintiffs have not pleaded a valid theory of
          21     restitution nor alleged, with respect to both restitution and their request for injunctive
          22     relief, that they lack an adequate remedy at law—a necessary prerequisite under binding
          23     federal law.
          24           This Motion is based upon this Notice of Motion and Motion, the attached
          25     Memorandum of Points and Authorities, the pleadings and papers on file in this action,
          26     any argument in connection with the Motion, and such further evidence or arguments as
          27     the Court may consider.
          28

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            1          This Motion is made following the conference of counsel pursuant to L.R. 7-3,
            2    which took place on September 7, 2021 (and previously, in connection with the earlier
            3    version of this Motion, on August 6, 2021). Defendants understand that Plaintiffs will
            4    oppose this Motion.
            5
            6    Dated: September 15, 2021            GIBSON, DUNN & CRUTCHER LLP
            7
                                                      By:       /s/ Patrick W. Dennis
            8                                                             Patrick W. Dennis
            9                                         Attorneys for Defendants NORTHROP
                                                      GRUMMAN CORPORATION and
          10                                          NORTHROP GRUMMAN SYSTEMS
                                                      CORPORATION
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            1                    MEMORANDUM OF POINTS AND AUTHORITIES
            2               I.     INTRODUCTION AND SUMMARY OF ARGUMENT
            3          Plaintiffs’ First Amended Complaint alleges that their residential properties were
            4    contaminated by chlorinated solvents such as trichloroethylene (“TCE”) and
            5    perchloroethylene (“PCE”) used in commercial manufacturing that took place decades
            6    ago at an industrial facility in Canoga Park.             Defendants Northrop Grumman
            7    Corporation and Northrop Grumman Systems Corporation never actually operated the
            8    facility, but Plaintiffs nevertheless blame them for the alleged contamination and seek
            9    to hold them liable for allegedly failing to notify the community about it. Plaintiffs also
          10     assert that the contamination has reduced the value of their property and exposed them
          11     to the risk of developing cancer or other illnesses in the future, allegedly necessitating a
          12     medical monitoring program. Plaintiffs bring causes of action for negligence, nuisance,
          13     strict liability based on abnormally dangerous activity (“strict liability”), and trespass,
          14     and they seek compensatory damages, injunctive relief (for abatement and remediation),
          15     equitable restitution, and punitive damages. Defendants move under Rule 12(b)(6) of
          16     the Federal Rules of Civil Procedure to dismiss Plaintiffs’ strict liability claim, their
          17     demand for punitive damages, and their request for equitable relief.
          18           Plaintiffs’ strict liability claim is facially defective for at least three reasons: First,
          19     Plaintiffs fail to appreciate that the abnormally dangerous or “ultrahazardous” activity
          20     doctrine scrutinizes the risks inherent in the type of activity that led to the harm-causing
          21     accident, not the risks that arise in the accident’s aftermath. Plaintiffs make much of the
          22     hazards that TCE, PCE, and other chlorinated solvents pose to the community after they
          23     are released into the environment, but apart from briefly mentioning a few ordinary
          24     commercial/industrial processes, they have nothing to say about any inherent hazards of
          25     those processes that were the purported cause of the chemical releases. Courts in this
          26     Circuit that have examined the commercial and industrial uses of chlorinated solvents
          27     like TCE and PCE have repeatedly rejected, including at the pleading stage, claims that
          28     such uses are ultrahazardous activities.

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            1           Second, Plaintiffs’ fundamental theory in this case is antithetical to strict liability.
            2    Courts impose strict liability for ultrahazardous activity because the risk of harm
            3    inherent in such activities cannot be avoided even through the use of reasonable care.
            4    But if the alleged harm occurs because the defendant failed to exercise reasonable care,
            5    then negligence, not strict liability, is the appropriate framework. Not only do Plaintiffs
            6    all but ignore this defining feature of the ultrahazardous activity doctrine, they
            7    repeatedly allege that they would not have been harmed if Defendants had “properly”
            8    contained and/or disposed of the chemicals at issue and notified the public about the
            9    presence of these chemicals in the environment. E.g., First Am. Compl. (“FAC”)
          10     (Dkt. 41) ¶¶ 19–20. According to Plaintiffs’ own allegations, Defendants’ exercise of
          11     reasonable care could have eliminated the purported harms, thus foreclosing their strict
          12     liability claim.
          13            Third, even if ordinary commercial or industrial use of chlorinated solvents were
          14     an ultrahazardous activity (it is not), strict liability would be limited to the type of harm
          15     that allegedly makes such activity abnormally dangerous—serious personal injury or
          16     property destruction. Plaintiffs claim that exposure to the chemicals at issue can cause
          17     cancer and other serious diseases, but they do not claim it has in this case. Instead,
          18     Plaintiffs allege that they have suffered economic injury—medical monitoring costs and
          19     reduced property values—based on the possibility that residents of the area might
          20     become sick in the future. A claim that a physical injury is merely possible in the future
          21     is not the type of serious physical injury to person or property that can support a strict
          22     liability claim for ultrahazardous activity.
          23            Plaintiffs also fail to plead facts sufficient to demonstrate their entitlement to
          24     punitive damages. As corporations, Defendants are legally incapable of harboring the
          25     animus required for punitive damages. Plaintiffs must therefore identify officers,
          26     directors, or managing agents of Defendants, and describe the actions of such individuals
          27     constituting oppression, fraud, or malice, for which punitive damages can be awarded
          28     under California law. Plaintiffs did neither. Their conclusory assertions that Defendants

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            1    acted with “actual malice” and that unspecified members of “senior management” acted
            2    with “willful disregard” are not enough. Id. ¶¶ 33, 72, 91, 104.
            3          Finally, Plaintiffs seek equitable restitution, but they have failed to plead a valid
            4    basis for this relief, such as a fraudulently-procured contract or Defendants obtaining a
            5    benefit from Plaintiffs through fraud, conversion, or duress. Plaintiffs also cannot
            6    establish their entitlement to equitable relief (restitution or injunction) more broadly,
            7    however, because they do not plead (and cannot amend in good faith to allege) that they
            8    lack an adequate remedy at law, as required by binding Ninth Circuit precedent.
            9          All of these deficiencies were present in Plaintiffs’ original complaint, and were
          10     already the subject of a motion to dismiss. Despite two conferences of counsel on these
          11     issues, and a full view of Defendants’ legal arguments in their previously-filed motion
          12     to dismiss, Plaintiffs have made minimal amendments that have not cured these
          13     deficiencies. Further amendment would be futile, and the Court should dismiss with
          14     prejudice Plaintiffs’ claim for strict liability based on abnormally dangerous activity,
          15     their demand for punitive damages, and their prayers for equitable restitution and
          16     injunctive relief.
          17     II.    PROCEDURAL BACKGROUND AND SUMMARY OF ALLEGED FACTS
          18           On May 10, 2021, Plaintiffs Jed and Alisa Behar, purporting to represent classes
          19     of individuals (1) who own or have owned residential property and (2) who have resided
          20     or worked in a defined area of Canoga Park, California, filed a class action complaint
          21     against Defendants asserting causes of action for negligence, private nuisance, strict
          22     liability for abnormally dangerous activity, trespass, and “unjust enrichment.” Compl.
          23     (Dkt. 1) ¶¶ 5, 9, 41–43, 48, 63–112.
          24            On August 19, 2021, Defendants filed a motion to dismiss Plaintiffs’ claims for
          25     strict liability and unjust enrichment/equitable relief and their demand for punitive
          26     damages under Fed. R. Civ. P. Rule 12(b)(6). (Dkt. 35.) At the same time, Defendants
          27     filed a motion to strike Plaintiffs’ medical monitoring class allegations. (Dkt. 36.)
          28

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            1          Plaintiffs filed their FAC on September 1, 2021. (Dkt. 41.) The FAC drops
            2    Plaintiffs’ unjust enrichment claim in favor of demands for “restitution” (based on an
            3    unjust enrichment theory) as an additional remedy for Defendants’ alleged negligence,
            4    continuing nuisance, strict liability, and “trespass/continuing trespass.” FAC ¶¶ 77, 83,
            5    103, 108. Plaintiffs also made minimal changes to the allegations supporting their strict
            6    liability claim and demand for punitive damages. FAC ¶ 33, 98. In light of Plaintiffs’
            7    FAC, the Court then denied as moot Defendants’ motions addressing Plaintiffs’ original
            8    complaint. (Dkt. 42.)
            9          As in their original complaint, Plaintiffs allege in the FAC that Defendants
          10     succeeded to the liabilities of Litton Industries, Inc. in connection with Litton’s
          11     ownership and operation of a commercial manufacturing facility located at 8020 Deering
          12     Avenue in Canoga Park. FAC ¶ 1 & n.1. Litton allegedly used the facility for circuit
          13     board manufacturing between 1967 and 2002. Id. ¶ 15.
          14           Plaintiffs further allege that, during this time, various volatile organic compounds
          15     (“VOCs”) were used in the circuit board manufacturing process, as well as in “copper
          16     plating, silk screening, photo printing and chemical stripping.” Id. ¶¶ 2, 15. They also
          17     allege that some of these VOCs, such as TCE, PCE, methylene chloride, and 1,4-
          18     dioxane, leached into the groundwater and migrated to the soil beneath their properties.
          19     Id. ¶¶ 2, 15, 21–22, 24. Plaintiffs claim that their property was damaged, and they were
          20     exposed to contaminants, through a processed called “vapor intrusion,” whereby
          21     chemical vapors migrate “though the soil and through building foundations and floors
          22     and into a building’s rooms” and “degrade indoor air” quality. Id. ¶¶ 6, 24–25.
          23           Plaintiffs do not allege that this vapor intrusion caused any physical injury to their
          24     persons or property beyond the mere presence of chemicals in the area near the facility.
          25     Instead, Plaintiffs seek compensatory damages related to alleged diminution in property
          26     value, remediation and abatement costs, and for “medical monitoring” costs to screen
          27     for cancer and other serious illnesses that allegedly may develop in the future because
          28     of exposure to the VOCs. Id. ¶¶ 57, 71, 76–77, 84, 108; id. at p. 29.

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            1          Relevant to this Motion, Plaintiffs allege that “Defendants, by using, disposing of,
            2    not controlling, and then failing to properly identify, contain, warn, abate, remediate and
            3    ultimately disclose the presence of Site Contaminants have engaged in an activity that
            4    is abnormally dangerous, ultrahazardous, and constitutes inherently or intrinsically
            5    dangerous activities for which they are strictly liable . . . .” Id. ¶ 96. Plaintiffs do not
            6    identify any hazards inherent in the activities at the facility that presumably led to the
            7    release of VOCs and alleged contamination of their property, but instead focus on the
            8    alleged toxicity of the chemicals once they were purportedly released into the
            9    environment. Id. ¶¶ 21–22, 97, 102. Plaintiffs contend the danger of these hazards
          10     “cannot be immediately eliminated through the use of reasonable care,” id. ¶ 100, but
          11     allege no facts to support that contention.
          12           Plaintiffs claim they are entitled to punitive damages “as the result of the
          13     carelessness, recklessness, negligent, willful and wanton actions in violation of law, and
          14     willful disregard of persons who foreseeably might be harmed by such acts or omissions
          15     by the Defendants’ senior management or ratification thereby.” Id. ¶ 33. But they do
          16     not identify any examples of acts or omissions performed with “actual malice,” and they
          17     do not identify any particular individual employed by Defendants who was allegedly
          18     responsible for the unidentified malicious acts or omissions.
          19           In addition to Plaintiffs’ demand for compensatory damages in each of their
          20     causes of action, Plaintiffs also seek, with respect to those causes of action, “restitution”
          21     for the amount allegedly “saved” by Defendants “by not safely and properly disposing
          22     [of] their waste by disposing of their waste on Plaintiffs [sic] and the Class Members
          23     [sic] property.” Id. ¶¶ 77, 83, 103, 108. Their allegations, however, do not fit within
          24     any valid theory that would entitle them to equitable restitution. Plaintiffs also seek
          25     injunctive relief, “requiring Defendants to abate the nuisance, to conduct a prompt and
          26     thorough investigation, and to engage in identification, excavation, containment,
          27     abatement and removal of all Site Contaminants . . . .” Id. ¶ 55. But they do not allege
          28     that their legal remedies are inadequate in any way. Plaintiffs cannot obtain redress in

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            1    equity when they seek damages at law, unless they have established that their legal
            2    remedies are insufficient. Plaintiffs failed to satisfy this prerequisite in their original
            3    complaint, and they have not done so in the FAC.
            4               III.   THE LEGAL STANDARDS GOVERNING THIS MOTION
            5          To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a
            6    complaint must allege facts sufficient “to ‘state a claim to relief that is plausible on its
            7    face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
            8    550 U.S. 544, 556, 570 (2007)). That is, a court must be able to “draw [a] reasonable
            9    inference that the defendant is liable for the misconduct alleged” from the facts included
          10     in the complaint. Iqbal, 556 U.S. at 678. “Threadbare recitals of the elements of a cause
          11     of action, supported by mere conclusory statements, do not suffice.” Id. Nor do “‘naked
          12     assertion(s)’ devoid of ‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S.
          13     at 557).
          14           Accordingly, courts follow a two-step approach when evaluating the plausibility
          15     of a complaint. First, the court pares all conclusory statements and allegations from the
          16     complaint (Twombly, 550 U.S. at 555), including plaintiffs’ legal conclusions. See
          17     Cousins v. Lockyer, 568 F.3d 1063, 1067 (9th Cir. 2009) (“[C]onclusory allegations of
          18     law . . . are insufficient to avoid a Rule 12(b)(6) dismissal.” (internal quotation marks
          19     omitted)). Second, the court reviews the complaint’s remaining factual allegations to
          20     determine whether they “plausibly” entitle the plaintiff to relief, or whether they only
          21     raise a “mere possibility of misconduct.” Iqbal, 556 U.S. at 678–80. In the latter case,
          22     dismissal is required. See Eclectic Props. E., LLC v. Marcus & Millichap Co., 751 F.3d
          23     990, 1000 (9th Cir. 2014) (affirming dismissal and finding that the complaint did not
          24     contain sufficient factual allegations to state a plausible entitlement to relief); Stanley
          25     Otake v. Wells Fargo Bank, N.A., No. 19-2266-JVS, 2020 WL 2527043, at *3 (C.D. Cal.
          26     Apr. 8, 2020) (dismissing Plaintiff’s claim because “as pled [it did] not infer more than
          27     the mere possibility of misconduct”).
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            1          This scrutiny at the pleadings stage is essential to avoid saddling defendants with
            2    expensive discovery obligations. See Iqbal, 556 U.S. at 678–79 (“Rule 8 . . . does not
            3    unlock the doors of discovery for a plaintiff armed with nothing more than
            4    conclusions.”); Eclectic Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996
            5    (9th Cir. 2014) (“[T]he factual allegations that are taken as true must plausibly suggest
            6    an entitlement to relief, such that it is not unfair to require the opposing party to be
            7    subjected to the expense of discovery and continued litigation.”). “Although leave to
            8    amend a deficient complaint shall be freely given when justice so requires . . . leave may
            9    be denied if amendment of the complaint would be futile.” Gordon v. City of Oakland,
          10     627 F.3d 1092, 1094 (9th Cir. 2010).
          11           Finally, a Rule 12(b) motion is an appropriate vehicle for dismissing a requested
          12     remedy such as punitive damages or equitable relief. Bonner v. Rite Aid Corporation,
          13     No. 2:19-cv-00674-MCE-EFB, 2020 WL 2836487, at *2 n.4 (E.D. Cal. June 1, 2020)
          14     (challenges to requests for restitution and punitive damages should “be made pursuant
          15     to Rule 12(b)(6), especially when, as here, the sufficiency of the pleading is at issue”
          16     (citing Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 974–75 (9th Cir. 2010))).
          17                                       IV.   ARGUMENT
          18           On their second attempt, Plaintiffs again fail to meet their pleading burden with
          19     respect to their claim for strict liability based on abnormally dangerous activity, the
          20     demand for punitive damages, injunctive relief, and the new request for equitable
          21     restitution. Their threadbare and conclusory allegations are insufficient to withstand a
          22     Federal Rule of Civil Procedure 12(b)(6) motion, and those claims should be dismissed
          23     with prejudice.
          24     A.    Plaintiffs Do Not State a Claim for Strict Liability Based on Abnormally
          25           Dangerous Activity.

          26           Plaintiffs contend that “by using, disposing of, not controlling, and then failing to
          27     properly identify, contain, warn, abate, remediate and ultimately disclose the presence
          28     of Site Contaminants” (such as TCE), Defendants engaged in “abnormally dangerous,

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            1    ultrahazardous” and “intrinsically dangerous” activity for which they are strictly liable.
            2    FAC ¶¶ 21–22, 96. While California law1 recognizes strict liability for “ultrahazardous”
            3    activity, Plaintiffs fundamentally misconstrue this narrow doctrine and fail to allege facts
            4    which, if true, demonstrate that Defendants’ alleged activities were ultrahazardous and
            5    subject to strict liability.
            6            California courts determine whether an activity is ultrahazardous by analyzing the
            7    following factors:
            8             (a) existence of a high degree of risk of some harm to the person, land or
            9                  chattels of others;
          10              (b) likelihood that the harm that results from it will be great;
          11              (c) inability to eliminate the risk by the exercise of reasonable care;
          12              (d) extent to which the activity is not a matter of common usage;
          13              (e) inappropriateness of the activity to the place where it is carried on; and
          14              (f) extent to which its value to the community is outweighed by its dangerous
          15                   attributes.
          16     Edwards v. Post Transp. Co., 228 Cal. App. 3d 980, 985 (1991) (citing Restatement 2d
          17     of Torts, § 520). Examples of ultrahazardous activities found by courts applying these
          18     factors include: test firing rocket engines (Smith v. Lockheed Propulsion Co., 247 Cal.
          19     App. 2d 774, 785 (1967)); fumigating an occupied building with cyanide gas
          20     (Luthringer v. Moore, 31 Cal. 2d 489, 492–94 (1948)); and transporting bombs by rail
          21     (Chavez v. S. Pac. Transp. Co., 413 F. Supp. 1203, 1209 (E.D. Cal. 1976)). Activities
          22     found not to be ultrahazardous include, among others: irrigation by canal leading to
          23     flooding, Clark v. Di Prima, 241 Cal. App. 2d 823, 829 (1966); discharge of firearms,
          24     Moore v. R.G. Indus., Inc., 789 F.2d 1326, 1328 (9th Cir. 1986); and use of potassium
          25     perchlorate in manufacturing flares, leading to contamination of the groundwater with
          26
          27
                  1
                      California substantive law applies to the claims Plaintiffs assert here. See Takahashi
          28          v. Loomis Armored Car Serv., 625 F.2d 314, 316 (9th Cir. 1980) (“In [a] diversity
                      action, the court must apply the substantive law of the forum state.”).
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            1    perchlorate. Palmisano v. Olin Corp., No. 03-01607, 2005 WL 6777560, at *17 (N.D.
            2    Cal. June 24, 2005).
            3           “While the inquiry of whether an activity should be classified as ultrahazardous
            4    requires fact-specific analysis regarding the activity in question, strict liability claims
            5    are still subject to dismissal at the pleadings stage if they are not plausibly pleaded.”
            6    Clarke v. Pac. Gas & Elec. Co., 501 F. Supp. 3d 774, 791 (N.D. Cal. 2020) (rejecting
            7    plaintiff’s contention that “[g]iven the inherently factual nature of the determination
            8    whether an activity is ultrahazardous . . . it would be inappropriate to resolve this
            9    determination on a motion to dismiss”).            Indeed, federal district courts applying
          10     California law regularly grant motions to dismiss strict liability claims based on
          11     ultrahazardous activity. See, e.g., id. (dismissing claim that operation of a manufactured
          12     gas plant, which led to soil and water contamination, was an ultrahazardous activity);
          13     U.S. v. S. Cal. Edison, 300 F. Supp. 2d 964, 991 (E.D. Cal. 2004) (dismissing claim that
          14     operation of a hydroelectric power plant was an ultrahazardous activity).
          15            Plaintiffs have not stated a claim for strict liability based on ultrahazardous
          16     activity for at least three independent reasons.
          17            1.     Plaintiffs Cannot Allege That the Nature of Defendants’ Alleged Use or
          18                   Disposal of the Chemicals at Issue Is Ultrahazardous.

          19            Courts in this circuit have consistently rejected—including at the pleading stage—
          20     claims that the commercial or industrial use and disposal of TCE, PCE, and similar
          21     chemicals is an ultrahazardous activity. See, e.g., Greenfield MHP Assocs., L.P. v.
          22     Ametek, Inc., 145 F. Supp. 3d 1000, 1010 (S.D. Cal. 2015) (granting motion to dismiss).
          23     As one court recognized, TCE and PCE are “used widely as solvents” in “[m]any
          24     industries” including “industrial plants and dry cleaners.” In re Burbank Env’t. Litig.,
          25     42 F. Supp. 2d 976, 983 (C.D. Cal. 1998) (holding that “that “plaintiffs have not stated
          26     sufficient facts to establish [that] the use of TCE [and] PCE . . . is an ultrahazardous
          27     activity”).   Thus, “[i]n California, the use of TCE has never been considered so
          28     hazardous to the public generally that liability must be imposed in the absence of

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            1    negligence.” O’Connor v. Boeing N. Am., Inc., No. 97-1554 DT (RCx), 2005 WL
            2    6035255, at *18 (C.D. Cal. Aug. 18, 2005). Plaintiffs’ virtually identical claims should
            3    fair no better.
            4           Plaintiffs fundamentally misconceive how the ultrahazardous activity doctrine
            5    works. The FAC focuses entirely on the alleged consequences of Defendants’ specific
            6    alleged wrongdoing—not on the risks inherent in the type of activities that allegedly
            7    caused Plaintiffs’ injuries. See FAC ¶¶ 96–98. But “[t]he doctrine of ultrahazardous
            8    activity focuses not on a product and its defects but upon an activity intentionally
            9    undertaken by the defendant, which by its nature is very dangerous.” Pierce v. Pac. Gas
          10     & Elec. Co., 166 Cal. App. 3d 68, 85 (1985). In Pierce, the plaintiff was severely
          11     electrocuted following a series of mishaps beginning with the explosion of an untested
          12     power transformer, which the defendant’s repair crew had installed after the previous
          13     transformer was destroyed in a lightning strike. Id. at 74. The court recognized that
          14     although “the ultimate result of the transformer failure was very hazardous . . . . the
          15     doctrine scrutinizes not the accident itself but the activity which led up to the accident.”
          16     Id. at 85. The court went on to hold that the activity of maintaining electric power lines
          17     is not an ultrahazardous activity, even though severe injury can occur when something
          18     goes wrong. Id. Likewise, Plaintiffs’ allegations about the hazards posed by the
          19     chemicals at issue after they are improperly disposed of and released into the
          20     environment do not establish that the activities leading up to the alleged release and
          21     contamination are ultrahazardous.
          22            The appropriate focus of the ultrahazardous activity analysis is Defendants’
          23     alleged use of chemicals at a “commercial manufacturing facility” for “circuit board
          24     production, copper plating, silk screening, photo printing and chemical stripping,” which
          25     the FAC mentions only in passing. FAC ¶¶ 1–2. The FAC says nothing about the
          26     hazards, if any, associated with these common commercial processes and therefore fails
          27     to state a claim that Defendants’ activities were ultrahazardous. Clarke, 501 F. Supp.
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            1    3d at 791 (“Courts have dismissed strict liability claims for failure to allege an
            2    ultrahazardous activity.”).
            3           Plaintiffs’ only substantive allegations about “activity intentionally undertaken”
            4    by Defendants, Pierce, 166 Cal. App. 3d at 85, concern the specific manner in which
            5    Defendants allegedly disposed of TCE and PCE. FAC ¶ 98. Plaintiffs amended their
            6    complaint to now allege that “Defendants disposed of these Contaminants into a buried
            7    clarifier which would not treat or remove the Contaminates [sic], and then discharged
            8    these contaminates [sic] into a vitrified clay pipe sewer line,” which it is “well known”
            9    “cannot contain PCE or TCE.” Id. With these allegations, Plaintiffs seem to contend
          10     that Defendants’ particular method of disposing of PCE and TCE was an ultrahazardous
          11     activity. But strict liability does not apply where the hazard is created merely by the
          12     defendant’s specific “alleged behavior in using and disposing of the chemicals.” In re
          13     Burbank, 42 F. Supp. 2d at 983. Plaintiffs must allege, at minimum, that any attempt to
          14     dispose of the chemicals at issue is inherently ultrahazardous, not just that Defendants’
          15     alleged particular choices—disposal into an ineffective clarifier and discharge into leaky
          16     sewer pipes—created a high risk of harm. Plaintiffs failed to do so even on their second
          17     attempt to state a strict liability claim.
          18            2.     Plaintiffs Fail to Allege That the Risks From Defendants’ Alleged
          19                   Activities Cannot Be Eliminated by the Exercise of Reasonable Care.

          20            “The theory of imposition of strict liability for ultrahazardous activity is that the
          21     danger cannot be eliminated through the use of care.” Edwards, 228 Cal. App. 3d at 987.
          22     Accordingly, the inability to eliminate the risk of harm through the exercise of
          23     reasonable care is a particularly important and potentially dispositive hallmark of
          24     ultrahazardous activity claims. This is because “ordinary rules of fault are sufficient for
          25     allocation of the risk” of a given activity “[w]here the activity is dangerous only if
          26     insufficient care is exercised.” Id. Following this reasoning, Edwards held that handling
          27     of sulfuric acid that resulted in a release of toxic gas that caused severe injuries to the
          28     plaintiff was not an ultrahazardous activity even though several Restatement factors

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            1    weighed in favor of ultrahazardous activity (factors (a), (b), (d) and (f), supra, p. 15) and
            2    factor (e) was inapplicable. Id. at 986–87.
            3          Here, Plaintiffs offer a bare conclusion that the alleged danger of Defendants’
            4    activities “cannot be immediately eliminated through the use of reasonable care,” but
            5    allege no facts to support this “formulaic recitation” of factor (c) from the Restatement
            6    and Edwards. FAC ¶ 100. This is exactly the sort of “naked assertion” devoid of
            7    “further factual enhancement” that is insufficient to discharge plaintiffs’ obligation to
            8    state the grounds of their entitlement to relief. Twombly, 550 U.S. at 555; Iqbal, 556
            9    U.S. at 678.
          10           Plaintiffs’ more substantive allegations contradict their assertion that reasonable
          11     care cannot “immediately eliminate[]” the risk from Defendants’ alleged activities,
          12     exposing the true nature of their claim. FAC ¶ 100. Plaintiffs fault Defendants for
          13     “disposing of, not controlling, and then failing to properly identify, contain, warn, abate,
          14     remediate and ultimately disclose the presence of” TCE and other chemical solvents
          15     used in various industrial applications at the facility. Id. ¶ 96 (emphasis added). They
          16     allege that if Defendants had “properly remediated or contained the Contaminants,
          17     Plaintiffs’ and the Class Members’ properties would not have been contaminated and
          18     their health would not have been put at risk.” Id. ¶ 19 (emphasis added). And they
          19     allege that, if Defendants had “notified the public, the Plaintiffs and the Class Members
          20     would not have purchased property and/or resided at property within and around the
          21     Class Area and would not have suffered damages as a result.” Id. ¶ 20. Even Plaintiffs’
          22     new allegations concerning Defendants’ alleged disposal of TCE and PCE reflect
          23     alleged negligence: Defendants allegedly dumped chemicals into a clarifier ill-suited to
          24     the task, and then discharged them into clay sewer pipes that leaked. Id. ¶ 98. Thus,
          25     according to the FAC, the contamination could have been avoided if Defendants had
          26     simply exercised more care in their disposal of the chemicals by using proper equipment,
          27     and Plaintiffs do not claim that Defendants’ alleged disposal method was the only one
          28     available.

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            1          In short, Plaintiffs allege they would not have been injured had Defendants
            2    exercised reasonable care. Under these alleged facts, “[t]here is no need for liability
            3    without proof of fault, because definitionally if there is damage it will have resulted from
            4    negligence and will be compensable.” Edwards, 228 Cal. App. 3d at 987; see also In re
            5    Burbank, 42 F. Supp. 2d at 983. Where, as here, a plaintiff’s strict liability claim is
            6    founded on alleged harm that could have been prevented through the exercise of
            7    reasonable care, a motion to dismiss should be granted. See Greenfield, 145 F. Supp. 3d
            8    at 1010 (granting motion to dismiss because “the risks associated with the use, storage,
            9    and/or disposal of such industrial solvents can be avoided through the exercise of
          10     reasonable car[e]”).
          11           3.     Strict Liability Is Not Appropriate for Plaintiffs’ Alleged Economic
          12                  Injuries.

          13           Plaintiffs must allege not only that Defendants’ activities were ultrahazardous, but
          14     that they suffered harm within the scope of that ultrahazardous risk. Goodwin v. Reilley,
          15     176 Cal. App. 3d 86, 92 (1985). “One who carries on an abnormally dangerous activity
          16     is not under strict liability for every possible harm that may result from carrying it on.”
          17     Id. As one court explained, “[d]ue to the very nature of the activity, the losses suffered
          18     as a result of such activity are likely to be substantial—an ‘overwhelming misfortune to
          19     the person injured.’” Chavez, 413 F. Supp. at 1209 (quoting Escola v. Coca Cola
          20     Bottling Co. of Fresno, 24 Cal. 2d 453, 462 (1944)).
          21           Plaintiffs’ claim bears no resemblance to the rare cases in which the defendant
          22     stands accused of causing catastrophic physical injury to person or property by, for
          23     example, test firing rocket engines, Smith, 247 Cal. App. at 785, fumigating an occupied
          24     building with cyanide gas, Luthringer, 31 Cal. at 492–94, or transporting bombs by rail,
          25     Chavez, 413 F. Supp. at 1209. Rather, Plaintiffs allege that they might be injured in the
          26     future by environmental exposure to chlorinated solvents that Defendants allegedly used
          27     in ordinary commercial/industrial applications. Plaintiffs’ alleged harm specifically
          28     consists of: (1) costs of medical monitoring for diseases they do not have and may never

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            1    develop; and (2) reduction in property values due to the public perception of such
            2    uncertain health risks. See FAC at p. 39 ¶¶ D, E.
            3          Defendants have uncovered no case holding that economic injuries arising from
            4    the mere risk of harm that a purported ultrahazardous activity might cause sometime in
            5    the future fall within the scope of the risks for which there is strict liability. To the
            6    contrary, this Court has granted a motion to dismiss a strict liability claim seeking
            7    economic damages (lost tourism revenue) from environmental contamination (an oil
            8    spill) caused by an alleged ultrahazardous activity. Blue Water Boating Inc. v. Plains
            9    All Am. Pipeline, L.P., No. 16-3283 PSG (JEMx), 2017 WL 405425, at *4 (C.D. Cal.
          10     Jan. 26, 2017) (holding that the plaintiff’s economic harms were “not in the same
          11     category” as the harms articulated in cases in which strict liability for ultrahazardous
          12     activity was found). The same reasoning compels dismissal here. Plaintiffs’ alleged
          13     abstract economic injuries are not in the same category as the life-threatening health
          14     conditions that Plaintiffs claim could be (but have not been) caused by exposure to the
          15     chemicals at issue. FAC ¶ 102.
          16           4.     Plaintiffs’ Strict Liability Claim Should Be Dismissed with Prejudice.
          17           Plaintiffs’ failure to allege a cognizable strict liability claim, even after
          18     Defendants repeatedly apprised Plaintiffs of the deficiencies discussed above,
          19     establishes that any further amendment would be futile. Accordingly, Plaintiffs’ claim
          20     for strict liability based on ultrahazardous activity should be dismissed with prejudice.
          21     Gordon, 627 F.3d at 1094; United Guar. Mortg. Indem. Co. v. Countrywide Fin. Corp.,
          22     660 F. Supp. 2d 1163, 1171 (C.D. Cal. 2009) (“[D]ismissal with prejudice is appropriate
          23     if amendment would be ‘futile.’” (citing Reddy v. Litton Indus., Inc., 912 F.2d 291, 296
          24     (9th Cir. 1990))).
          25     B.    Plaintiffs Do Not Plead Facts Necessary to Support Their Demand for
          26           Punitive Damages.

          27           Under California law, punitive damages are available to a plaintiff in a tort action
          28     “where it is proven by clear and convincing evidence that the defendant has been guilty

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            1    of oppression, fraud, or malice.” Cal. Civ. Code § 3294(a). “Punitive damages are never
            2    awarded as a matter of right, are disfavored by the law, and should be granted with the
            3    greatest of caution and only in the clearest of cases.” Altman v. PNC Mortgage, 850 F.
            4    Supp. 2d 1057, 1086 (E.D. Cal. 2012) (citing Henderson v. Sec. Nat’l Bank, 72 Cal.
            5    App. 3d 764, 771 (1977)). A complaint may support a demand for punitive damages,
            6    however, if it alleges the “‘ultimate facts of the defendant’s oppression, fraud, or
            7    malice.’” Id. (quoting Cyrus v. Haveson, 65 Cal. App. 3d 306, 316–17 (1976)). The
            8    adequacy of plaintiffs’ pleadings is determined by the federal pleadings standards. Id.
            9    at 1085 (citing Jackson v. Easy Bay Hosp., 980 F. Supp. 1341, 1353 (N.D. Cal. 1997));
          10     Cisneros v. Instant Capital Funding Group, Inc., 263 F.R.D. 595, 611 (E.D. Cal. 2009).
          11     The complaint, therefore, must include adequate “facts that defendants acted with
          12     requisite malice, oppression or fraud to support punitive damages claims.” Altman, 850
          13     F. Supp. 2d at 1086.
          14           Where the defendant is a corporation, factual allegations of malice, oppression, or
          15     fraud must relate to the actions of an individual, because “[c]orporations are legal entities
          16     which do not have minds capable of recklessness, wickedness, or intent to injure or
          17     deceive.” Cruz v. HomeBase, 83 Cal. App. 4th 160, 167 (2000); see also In re Yahoo!
          18     Inc. Customer Data Sec. Breach Litig., 313 F. Supp. 3d 1113, 1147 (N.D. Cal. 2018)
          19     (“[A] corporate entity cannot commit willful and malicious conduct; instead, ‘the
          20     advance knowledge and conscious disregard, authorization, ratification or act of
          21     oppression, fraud, or malice must be on the part of an officer, director, or managing
          22     agent of the corporation.’” (quoting Cal. Civ. Code § 3294(b))). Thus, to adequately
          23     plead entitlement to punitive damages, a plaintiff “must plead that an officer, director,
          24     or managing agent of [defendant] committed an act of oppression, fraud, or malice.” In
          25     re Yahoo!, 313 F. Supp. 3d at 1147; accord Waddell v. Trek Bicycle Corp., No. 15-2082-
          26     DOC, 2016 WL 7507769, at *3 (C.D. Cal. Jan. 25, 2016) (“[I]n order to state a request
          27     for punitive damages against a corporation, a plaintiff must make allegations concerning
          28     an officer, director, or managing agent of that corporation.”). A plaintiff can satisfy this

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            1    requirement by “includ[ing] the names or titles of any individual actor . . . .” Taiwan
            2    Semiconductor Mfg. Co. Ltd. v. Tela Innovations, Inc., No. 14-00362, 2014 WL
            3    3705350, at *6 (N.D. Cal. July 24, 2014) (emphasis in original); see also In re Yahoo!,
            4    313 F. Supp. 3d at 1148 (plaintiffs satisfied pleading requirement by including “the
            5    names and titles of individual actors who are alleged to have committed malicious
            6    conduct” and descriptions of that conduct).
            7            Here, Plaintiffs make only the bare allegation that they are entitled to punitive
            8    damages “as the result of the carelessness, recklessness, negligent, willful and wanton
            9    actions in violation of the law, and willful disregard of persons who foreseeably might
          10     be harmed by such acts or omission by the Defendants’ senior management or
          11     ratification thereby.” FAC ¶ 33. 2 Plaintiffs have, for a second time, failed to identify
          12     the name or title of even a single one of Defendants’ officers, directors, or managing
          13     agents, let alone alleged conduct by any such person that could qualify as oppressive,
          14     fraudulent, or malicious. This fatal omission requires dismissal of Plaintiffs’ demand
          15     for punitive damages. See Waddell, 2016 WL 7507769, at *3 (where plaintiff “has not
          16     referenced any individual actors in his complaint,” plaintiff “has failed to allege
          17     sufficient facts to support punitive damages”); Taiwan Semiconductor, 2014 WL
          18     3705350, at *6 (“Plaintiff’s failure, then, to include the names or titles of any individual
          19     actor is a fatal defect in its pleading of ‘willful and malicious’ conduct.”) (emphasis in
          20     original).
          21             Plaintiffs had the opportunity to amend their complaint to cure this problem, but
          22     they failed to do so. Instead, they added a singular conclusory reference to unidentified
          23     members of “senior management,” and not even one factual allegation regarding alleged
          24     conduct by “senior management” that demonstrates malice, oppression, or fraud.
          25     Plaintiffs’ new allegation is plainly insufficient. See In re Yahoo!, 313 F. Supp. 3d at
          26      2
                      Plaintiffs also allege, in the same conclusory manner but without even passing
          27          reference to any employees of Defendants, that Defendants caused injury to
                      plaintiffs “through acts and omissions actuated by actual malice and/or
          28          accompanied by a reckless, wanton and willful disregard . . . .” FAC ¶¶ 72, 91,
                      104.
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            1    1148; Waddell, 2016 WL 7507769, at *3; Taiwan Semiconductor, 2014 WL 3705350,
            2    at *6. Their frivolous amendment in the FAC demonstrates that allowing Plaintiffs a
            3    second attempt to amend their pleadings would be futile. Plaintiffs’ demand for punitive
            4    damages should therefore be dismissed with prejudice. Gordon, 627 F.3d at 1094;
            5    United Guar., 660 F. Supp. at 1171 (“[D]ismissal with prejudice is appropriate if
            6    amendment would be ‘futile.’”).
            7    C.      The Court Should Dismiss All of Plaintiffs’ Requests for Equitable Relief.
            8            Defendants previously conferred with Plaintiffs’ counsel and moved to dismiss
            9    the improper unjust enrichment “cause of action.” (Dkt. 35 at 14–16.) Plaintiffs have
          10     now dropped that purported claim, but their FAC still seeks the equitable remedy of
          11     “restitution” for alleged negligence, private nuisance, strict liability for abnormally
          12     dangerous activity, and trespass. FAC ¶¶ 77, 83, 103, 108.3 Plaintiffs seek this equitable
          13     monetary relief in addition to their prayer for compensatory damages in each of their
          14     legal causes of action. Id. ¶¶ 77, 84, 103, 108. Plaintiffs also ask for an injunction
          15     “requiring Defendants to abate the nuisance, to conduct a prompt and thorough
          16     investigation, and to engage in identification, excavation, containment, abatement and
          17     removal of all Site Contaminants from the properties of Plaintiffs and the Members of
          18     the Classes . . . .” Id. ¶¶ 55. Plaintiffs’ requests for restitution and other equitable relief
          19     fail for several reasons.
          20             First, Plaintiffs do not plead any basis for restitution. To support this request,
          21     Plaintiffs claim that Defendants realized a cost savings by “not safely and properly
          22     disposing of their waste by disposing their waste on Plaintiffs [sic] and the Class
          23     Members [sic] property.” Id. ¶¶ 77, 83, 103, 108. Under California law, there are
          24     several permissible bases for seeking restitution, including “in lieu of breach of contract
          25     damages when the parties had an express contract, but it was procured by fraud or is
          26     unenforceable or ineffective for some reason.” McBride v. Boughton, 123 Cal. App. 4th
          27
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                      Unjust enrichment and restitution are “synonymous.” Durrell v. Sharp Healthcare,
          28          183 Cal. App. 4th 1350, 1370 (2010); Melchior v. New Line Prods., Inc., 106 Cal.
                      App. 4th 779, 793 (2003).
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            1    379, 388 (2004). “Alternatively, restitution may be awarded where defendant obtained
            2    a benefit from the plaintiff by fraud, duress, conversion, or similar conduct,” and in these
            3    situations, “the plaintiff may choose not to sue in tort, but instead to seek restitution on
            4    a quasi-contract theory . . . .” Id. But Plaintiffs do not allege any of these grounds: They
            5    identify no contract that would permit restitution on a quasi-contractual theory, nor do
            6    they allege that Defendants obtained a benefit by “fraud, duress, [or] conversion.” Id.
            7    In fact, they do not even seek quasi-contractual restitution in lieu of tort damages. Id.;
            8    Rosal v. First Fed. Bank of California, 671 F. Supp. 2d 1111, 1133 (N.D. Cal. 2009)
            9    (“[A] claim for restitution is inconsistent and incompatible with a . . . claim in tort.”).
          10     The Court should dismiss the request for equitable restitution on these grounds alone.
          11     In re iPhone Application Litig., 844 F. Supp. 2d 1040, 1076 (N.D. Cal. 2012) (dismissing
          12     claim for restitution because plaintiffs “have not stated a claim for common law tort such
          13     as conversion, nor . . . established that Defendants obtained a benefit from the plaintiff
          14     by fraud or duress . . .”).
          15             Second, the Court should dismiss all of Plaintiffs’ requested equitable relief on
          16     the independent ground that they do not plead an inadequate remedy at law, which is a
          17     necessary prerequisite for obtaining equitable relief in federal court. Binding Ninth
          18     Circuit precedent has addressed the question of “whether a federal court sitting in
          19     diversity can award equitable restitution under state law if an adequate legal remedy
          20     exists.” Sonner v. Premier Nutrition Corp., 971 F.3d 834, 842 (9th Cir. 2020). 4 The
          21     Ninth Circuit answered “no” to this question. Id. at 844 (affirming dismissal of request
          22     for equitable restitution where plaintiff failed to establish she lacked adequate remedy
          23     at law). In light of the decision in Sonner, a plaintiff can only seek equitable relief,
          24     including common law restitution and injunction, if she has made plausible allegations
          25
          26      4
                      “[T]raditional principles governing equitable remedies in federal courts” apply to
                      state law claims in federal diversity actions. Sonner, 971 F.3d at 843–44. Notably,
          27          California courts also hold that “equitable relief (such as restitution) will not be given
                      when the plaintiff’s remedies at law are adequate.” Collins v. eMachines, Inc., 202
          28          Cal. App. 4th 249, 260 (2011) (concluding that “complaint does not state a claim for
                      restitution based on unjust enrichment”).
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            1    that she lacks an adequate legal remedy. Courts have applied Sonner outside of the
            2    Unfair Competition Law context and to the types of restitution sought here. See, e.g.,
            3    Banks v. R.C. Bigelow, Inc., No. 20-cv-6208 DDP (RAOx), 2021 WL 1734779, at *6
            4    (C.D. Cal. May 3, 2021) (dismissing with prejudice request for relief under unjust
            5    enrichment theory, based on Sonner); Clark v. Am. Honda Motor Co., No. cv 20-3147
            6    AB (MRWx), 2021 WL 1186338, at *7 n.5, *8 (C.D. Cal. Mar. 25, 2021) (same).
            7    Likewise, courts apply Sonner to other equitable remedies, including injunctive relief.
            8    E.g., In re MacBook Keyboard Litig., No. 18-2813, 2020 WL 6047253, at *3 (N.D. Cal.
            9    Oct. 13, 2020) (applying Sonner to claim for injunctive relief and collecting decisions
          10     from “numerous courts in this circuit” doing the same).
          11             Here, Plaintiffs do not plead (and cannot amend to plead) that they lack an
          12     adequate remedy at law. Plaintiffs already received an opportunity to add any such
          13     allegations to their FAC, and they failed to do so. Instead, Plaintiffs make clear that they
          14     also seek to recover compensatory and punitive damages for their alleged injuries due
          15     to Defendants’ claimed negligence, private nuisance, strict liability for abnormally
          16     dangerous activity, and trespass. FAC ¶¶ 77, 84, 103, 108; id. at pp. 29–30. Never do
          17     they explain how such monetary damages and legal relief would be inadequate.
          18     Accordingly, Plaintiffs have no basis to allege that they have an inadequate remedy at
          19     law, and their requests for equitable relief should be dismissed with prejudice for this
          20     additional reason. Banks, 2021 WL 1734779, at *6; Clark, 2021 WL 1186338, at *7
          21     n.5, *8 (dismissing “claim” to recover for unjust enrichment because plaintiffs “have not
          22     pointed to any allegation in the [c]omplaint pleading that they lack an adequate remedy
          23     at law” and declining to address additional grounds for dismissal for that same reason
          24     (emphasis in original)); In re MacBook, 2020 WL 6047253, at *4 (dismissing all claims
          25     for equitable relief with prejudice where “monetary damages would provide an adequate
          26     remedy for the alleged injury”). 5
          27      5
                      Compare, e.g., Perlmutter v. Lehigh Hanson, Inc., No. 21-02571, 2021 WL
          28          4033029 (N.D. Cal. Sept. 3, 2021), in which the district court permitted plaintiffs to
                                                                                     (Cont’d on next page)
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            1           For these reasons, and because allowing Plaintiffs another opportunity to amend
            2    would be futile, United Guar., 660 F. Supp. at 1171, the Court should dismiss Plaintiffs’
            3    requests for restitution and injunctive relief with prejudice.
            4                                       V.     CONCLUSION
            5           Plaintiffs’ FAC fails to allege facts sufficient to state a claim for strict liability for
            6    abnormally dangerous activity or to establish entitlement to punitive damages or
            7    restitution. Plaintiffs’ strict liability claim attempts to portray use of solvents in routine
            8    commercial/industrial processes as an ultrahazardous activity based on unrealized risks
            9    that allegedly arose long after the solvents were purportedly released into the
          10     environment. But that is not how the doctrine of strict liability for ultrahazardous
          11     activity works, and courts have consistently rejected the argument that the mere
          12     commercial/industrial use of chlorinated solvents is an ultrahazardous activity. Punitive
          13     damages are not available against Defendants because Plaintiffs fail to allege facts
          14     plausibly demonstrating that one of their officers, directors, or managing agents is guilty
          15     of oppression, fraud, or malice. Finally, Plaintiffs have not pleaded a permissible basis
          16     for seeking restitution, and regardless, their request for equitable relief (both restitution
          17     and injunction) are barred by Plaintiffs’ seeking remedies at law in tort for the same
          18     alleged wrongs.
          19            For these reasons, and as explained above, Defendants respectfully request that
          20     the Court grant this Motion with prejudice.
          21     /
          22     /
          23     /
          24     /
          25
                     continue to pursue injunctive relief in a private nuisance lawsuit, because the
          26         plaintiffs specifically alleged that emissions from defendants’ industrial facility
                     “forced them to ‘retreat inside’ rather than use their backyards, gardens, and
          27         neighborhood.” Id. at *5. The district court concluded that these allegations
                     supported a “reasonable inference that Plaintiffs have suffered an irreparable injury
          28         that remedies available at law could not compensate.” Id. at *6. Here, however,
                     Plaintiffs have not made any comparable allegations.
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            1    Dated:    September 15, 2021                GIBSON, DUNN & CRUTCHER LLP
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            3                                     By:        /s/ Patrick W. Dennis
                                                                       Patrick W. Dennis
            4
                                                  Attorneys for Defendants NORTHROP
            5                                     GRUMMAN CORPORATION and
                                                  NORTHROP GRUMMAN SYSTEMS
            6                                     CORPORATION
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            1                             CERTIFICATE OF SERVICE
            2          I, Patrick W. Dennis, an attorney, hereby certify that the DEFENDANTS
            3    NORTHROP GRUMMAN CORPORATION AND NORTHROP GRUMMAN
            4    SYSTEMS CORPORATION’S NOTICE OF MOTION AND MOTION TO DISMISS
            5    FIRST AMENDED COMPLAINT CLAIMS FOR: (1) STRICT LIABILITY
            6    (ABNORMALLY DANGEROUS ACTIVITY); (2) PUNITIVE DAMAGES; AND
            7    (3) EQUITABLE RELIEF was served to counsel for the Plaintiffs through the Court’s
            8    ECF/CM system on September 15, 2021.
            9
          10
                                                     By:        /s/ Patrick W. Dennis
          11                                                              Patrick W. Dennis
          12                                         Attorneys for Defendants NORTHROP
                                                     GRUMMAN CORPORATION and
          13                                         NORTHROP GRUMMAN SYSTEMS
                                                     CORPORATION
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